          Case 1:17-sw-00294-TCB Document 12 Filed 06/26/18 Page 1 of 7 PageID# 89




  AO 93 (Rev. 12/09)Search and Seizure Warrant



                                       United States District Court
                                                                        for the
                                                          Eastern District of Virginia

                In the Matter ofthe Search of                              )
            (Briefly describe the property id be searched                  )
             or iddntijy the person by name and address)                  )        CaseNo.1i17-SW-       (UNDER SEAL)
THE PREMISES LOCATED AT 370 HOLLAND LANE. UNIT I
3013,ALEXANDRIA. VA.22314. MORE PARTICULARLY {
               DESCRIBED IN ATTACHMENT A                                   ^
                                             SEARCH AND SEIZURE WARRANT

 To:       Any authorized law enforcement officer

         An application by a federal law enforcement officer or an attorney for the government requests the search
 ofthe following person or property located in the         Eastern           District of            Virginia
 (identify(be person or describe the property to be searched and give its location)'.

 See Attachment A.

           The person or property to be searched, described above, is believed to conceal (identify the person or describe the
 property to be seizecP'.

See Attachment B.

           I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
 property.

           YOU ARE COMMANDED to execute this warrant dii or before                                         June 10, 2017
                                                                                                         (not to exceed 14 days)
       Sj in the daytime 6:00 aim: to 10 p.m.                O at any time in the day or night as 1 find reasonable cause has been
                                                                 established.

           Unless'delayed notice is authori2:ed below, you must give a copy ofthe warrant and a receipt for the property
 taken to the person from whom,or from whose premises,the property was taken, or leave the copy and receipt at the
 place where the property Was taken.
           The officer executing this warrant, or an officer present during the execution ofthe warrant, must prepare an
 inventoty as required by law and promptly return this warrant and inventoiy to United States Magistrate Judge
Theresa Carroll Buchanan                               .
                              (name)

       P I find that immediate notification may have an adverse result listed in 18 U.S.C, § 2705(except for delay
 oftrial), and authorize the officer executing tliis warrant to delay notice to the person Who,or whose property, will be
 searched or seized (check the appropriate box) Ofor            days (not to exceed 3t)).
                                                □until, the facts justifying, the later specific date of                             .

 Date and time issued: 5/27/2(317                    f'
                                                                                              Judge's signature

 City and state:       Alexandria. VA                                      Hon. Theresa Carroll Buchanan. U.S. Magistrate Judge
                                                                                            Printed name and title
        Case 1:17-sw-00294-TCB Document 12 Filed 06/26/18 Page 2 of 7 PageID# 90




AO 93 (Rev. 12/09)Search and Seizure Warrant(Page 2)

                                                             Return

Case No.:                            Date and time warrant cKecufed:      Copy of warrant and inventory left with:
1:17-SW-        (UNDER SEAI                                                                        u.crr'?f£g=£tAn\
Inventoiy made in the presence of:

Inventoiy ofthe property taken and name ofany person(s)seized:



               ^vlew"vS




                vi^



3)




                                                          Certlficatidn



         I declare under penalty of perjury that this inventoiy is correct ^d was returned along with the original warrant
to the designated judge.



Date:
                                                                               Executing officer's signature


                                                                                  Printed name and title
Case 1:17-sw-00294-TCB Document 12 Filed 06/26/18 Page 3 of 7 PageID# 91




                                       ATTACHMENT A

                                    Property to Be Searched

       The prbpe^ to be searched is the storage unit located at 37Q Holland Lane, Unit 3013j

Alexandria, Virginia 22314, as well as any locked drawers, locked containers, safes, computers,

electronic devices,and storage media(such as hard disks or other media that can store data),found

therein. The storage unitis further described as a metal corrugated steel room with a red and white
sign on the exterior with the number 3013.
Case 1:17-sw-00294-TCB Document 12 Filed 06/26/18 Page 4 of 7 PageID# 92




                                        ATTACHMENT B


                                       Property to be seized

       1.      Records relating to violations of 31 U.S.G. §§ 5314, 5322(a)(Failure to File a

Report"of Foreign Bank and Financial Accounts), 22 U.S.G. § 618 (Foreign Agent Registration

Act), and 26 U.S.G. § 7206(a)(Filing a False Tax Return), including:

            a. Any and all financial records for Paul Manafort, Richard Gates or companies

               associated with Paul Manafort or Richard Gates, including but not limited to

               records relating to any foreign financial accounts;

            b. Any and all federal and state tax documentation, including but not limited to

               personal and business tax returns and all associated schedules for Paul Manafort,

               Richard Gates, or companies associated with Paul Manafort or Richard Gates;

            b. Letters, correspondence, emails, or other forms of communications with any

               foreign financial institution, or any individual acting as the signatory or controlling

               any foreign bank account;

            c. Any and all correspondence, communication, memorandum, or record of any kind

               relating to the Party of Regions, Viktor Yanukovych, the European Centre for a

               Modern Ukraine,or any other foreign principal ofPaul Manafort or Richard Gates,

               or any company associated with Paul Manafort or Richard Gates;

            d. Any and all correspondence, memorandum,press release, or documentation ofany

               kind regarding any lobbying or advocacy performed by Paul Manafort, Richard

               Gates, or any company associated with Paul Manafort or Richard Gates, on behalf

               of the Party of Regions, Viktor Yanukovych, the European Centre for a Modem
Case 1:17-sw-00294-TCB Document 12 Filed 06/26/18 Page 5 of 7 PageID# 93




                Ukraine, or any other foreign principal of Paul Manafort, Richard Gates, or any

                company associated with Paul Manafort or Richard Gates.

            e. Records related to, discussing, or documenting Neocom Systems, /^tes

               Management, Yiakora Ventures, Global Highway Ltd., Global Endeavor,

               Leviathan Advisors, Peranova Holdings, Bletilla Ventures, Lucicle Consultants,

               and/or Telmar Investments, including but not limited to bank records, canceled

               checks, money drafts, letters of credit, cashier's checks, safe deposit records,

               checkbooks, and check stubs, duplicates and copies pf checks, deposit items,

               savings passbooks^ wire transfer records, and similar bank and financial account

               records.

            f. Records related to, discussing, or documenting

            g. Any and all daily planners, logs, cUlendats, schedule books relating to Paul

               Manafort or Richard Gates.

       2.      Comiputers or storage media used as a means to commit the Target Offenses.

       3.      For any computer or storage mediurti whose seizure is otherwise authorized by this

warrant, and any computer or storage medium that contains or in which is stored records or

information that is otherwise called for by this warrant(hereinafter,"COMPUTER"):

            a. evidence of who used, owned,or controlled the COMPUTER at the time the things

               described in this warrant were created, edited, or deleted, such as logs, registry

               eritries, corifiguration files, saved usemames and passwords, documents, browsing

               history, user profiles, email, email contacts, '*chat," instant messaging logSj

               photbgraphSi and correspondence;
Case 1:17-sw-00294-TCB Document 12 Filed 06/26/18 Page 6 of 7 PageID# 94




        b. evidence of software that would allow others to control the COMPUTER,such as

            viruses, Trojan horses, and other forms of malicious software, as well as evidence

            of the presence or absence of security software designed to detect malicious

            software;

        0. evidence ofthe lack ofsuch malicious software;

        d. evidence indicating how and when the computer was accessed or used to determine

           the chronological context of computer access, use, and events relating to crime

           under investigation and to the computer user;

        e. evidence indicating the computer user's state ofmind as it relates to the crime under

           investigation;

        f. evidence ofthe attachment to the COMPUTER of other storage devices or similar

           containers for electronic evidence;

        g. evidence of counter-forensic programs (and associated data) that are designed to

           eliminate data from the COMPUTER;

        h. evidence ofthe times the COMPUTER was used;

        1. passwords, encryption keys, and other access devices that may be necessary to

           access the COMPUTER;

       j. documentation and manuals that may be necessary to access the COMPUTER or

           to conduct a forensic examination ofthe COMPUTER;

       k. records of or information about Intemet Protocol addresses used by the

           COMPUTER;

       I. records of or information about the COMPUTER'S Internet activity, including

           firewall logs,caches, browser history and cookies,"boolqnarked" or"favorite" web

                                            4
Case 1:17-sw-00294-TCB Document 12 Filed 06/26/18 Page 7 of 7 PageID# 95




               pages, search terms that the user entered into any Internet search engine, and

               records of user-typed web addresses;                              •

           m. cdntextual information necessary to understand the evidence described in this

               attachment.

       As used abovej the terms "records" and "information" includes all forms of creation or

storage, including any form ofcomputer or electronic storage (such as hard disks or other media

that can store data); any handmade form (such as writing); any mechanical fonn (such as printing

or typing); and any photographic form (such as microfilm, microfiche, prints, slides, negatives,

videotapes, motion pictures, or photocopies).

       The term "computer" includes all types of electronic, magnetic, optical, electrochemical,

or other high speed data processing devices performing logical, arithmetic, Or storage functions,

including desktop coinputers, notebook computers, mobile phones, tablets, server computers, and

network hardware.

       The term "storage medium" includes any physical object upon which computer data can

be recorded. Examples include hard disks, RAM,floppy disks, flash memory, GD-ROMs, and

other magnetic or optical media. •
